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   About Us
   LabCorp, headquartered in Burlington, North Carolina, is a leading global life sciences company that is
   deeply integrated in guiding patient care through its comprehensive clinical laboratory and end-to-end
   drug development services. Employing nearly 61,000 employees worldwide, the company’s mission is to
   improve health and improve lives by delivering world-class diagnostics, accelerating the availability of
   innovative medicines to patients, and using technology to change the way care is delivered. LabCorp
   serves a broad range of customers, including managed care organizations, biopharmaceutical
   companies, governmental agencies, physicians and other healthcare providers, hospitals and health
   systems, employers, patients and consumers, contract research organizations, and independent clinical
   laboratories.

   The company provides diagnostic, drug development and technology-enabled solutions for more than
   120 million patient encounters per year. LabCorp typically processes tests on more than 2.5 million
   patient specimens per week and supports clinical trial activity in approximately 100 countries through its
   industry-leading central laboratory business, generating more safety and e cacy data to support drug
   approvals than any other company.

   Laboratory Corporation of America Holdings is listed on the New York Stock Exchange (NYSE) under
   ticker symbol LH.


   Investor Relations
   Visit the LabCorp Investor Relations (https://ir.labcorp.com) site.



   Media Relations Inquiries
   For Media Relations inquiries, visit the Media page (/media-contacts).



   Careers
   Each day, LabCorp employees have an opportunity to build rewarding careers and experience the
   satisfaction of knowing that the work they do to improve health and improve lives.

https://www.labcorp.com/about-us                                                                                1/2
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   If you're looking for a career that o ers opportunities for growth, continual development, professional
   challenge and the chance to make a real di erence, connect to LabCorp.

   Click here to visit www.labcorpcareers.com (https://jobs.labcorp.com/).




https://www.labcorp.com/about-us                                                                             2/2
